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EXHIBIT 3

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Tesla™
Power Anytime, Anywhere

About Tesla™

Tesla™ designs, manufactures, tests and supports state of the art power conversion systems at our headquarters in New
Castle, Delaware, USA. We specialize in systems that provide power for 12 and 24 volt vehicles and aircraft. The Turbo Start™
portable ground power systems, the MPU (Micro Power Unit) Aviation Battery Systems and our Cobra™ series of connectors
and cables are our primary products.

Tesla™ units operate and support vehicles, aircraft and equipment that are extremely complex and expensive. Our customers
have highly technical requirements and demand equipment that will work in remote and harsh environments. While other
companies have chosen to outsource many of their processes, we believe in doing as much in-house as possible. By
continuously expanding our manufacturing capabilities, we are able to ensure quality, guarantee our supply line, and control
costs.

Tesla™ Headquarters: New Castle, DE

